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                      THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                        ___________________________________

THE UNITED STATES OF AMERICA,
                                                    Case No. 1:20-MJ-416
              Plaintiff,
                                                    Hon. Sally J. Berens
v.                                                  U.S. Magistrate Judge

ADAM FOX,
KALEB FRANKS,
DANIEL HARRIS,
BRANDON CASERTA,

              Defendants.


                 DEFENDANTS’ MOTION FOR LEAVE TO FILE
                      UNDER RESTRICTED ACCESS


        Defendants, through counsel, move the Court for leave to file the attached

report under restricted access in the above-captioned case. Defendants’ request

leave to file under restricted access, limiting such access to counsel for the named

defendants because this is a budget-related pleading that would normally be filed

ex-parte.

Date: December 7, 2020

SHARON A. TUREK                               SCOTT GRAHAM PLLC
Federal Public Defender

By:  /s/ Helen C. Nieuwenhuis                 By:  /s/ Scott Graham
     Helen C. Nieuwenhuis                          Scott Graham
     Sean Tilton                                   Attorney for Defendant Franks
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  Case 1:20-mj-00416-SJB ECF No. 78, PageID.555 Filed 12/07/20 Page 2 of 2




DOUGLAS LAW PLLC                          HILLS AT LAW, PC

By:  /s/ Parker Douglas                   By:  /s/ Michael D. Hills
     Parker Douglas                            Michael D. Hills
      Attorney for Defendant Harris            Attorney for Defendant Caserta
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IT IS SO ORDERED

Date:




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